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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JANE DOES 1-2,                                *
                                              *
       Plaintiffs,                            *
                                              *
       v.                                     *
                                              *      Civil Action No. 1:25-cv-00234
OFFICE OF PERSONNEL                           *
MANAGEMENT,                                   *
                                              *
       Defendant.                             *
                                              *
*      *       *      *       *       *       *      *       *      *       *       *

                                             ORDER

       UPON CONSIDERATION OF Plaintiffs’ Emergency Motion for a Temporary

Restraining Order, any Opposition thereto, and the entire record herein, it is this _______ day of

____________, 2025,

       ORDERED that Plaintiffs’ Motion is GRANTED; and

       FURTHER ORDERED that Defendant Office of Personnel Management is hereby

prohibited from continuing to operate any computer systems connected to the HR@opm.gov

address or requiring any current employees of the Executive Branch to send email messages to

any variations of that address (e.g., HR0@opm.gov, HR1@opm.gov, etc.) prior to the

completion and public release of a required Privacy Impact Assessment.



                                                  _______________________________________
                                                  United States District Judge
